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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


GREGORY J. DUHON, M.D.                                        CIVIL ACTION


VERSUS                                                        NO. 20-2022


THE BOARD OF SUPERVISORS                                      SECTION: “H”
OF LOUISIANA STATE UNIVERSITY
& AGRICULTURAL & MECHANICAL
COLLEGE, ET AL.


                                       ORDER
      Before the Court is Defendant Betsy White Williams, Ph.D.’s Motion to
Dismiss (Doc. 101). Subsequent to the filing of this motion, Plaintiff filed his
Second Amended Complaint (Doc. 131) in accordance with this Court’s
previous Orders (Docs. 122, 123, 124, 125). “[M]any district courts—including
this Court—routinely deny as moot motions to dismiss that are filed prior to
an amendment of a complaint.”1 Plaintiff’s Second Amended Complaint does
not include Dr. Williams as a Defendant.
      Accordingly;
      IT IS ORDERED that Dr. Williams’ Motion to Dismiss is DENIED AS
MOOT WITHOUT PREJUDICE.



1Jefferson Cmty. Health Care Centers, Inc. v. Jefferson Par. Gov’t, No. 16-12910, 2016 WL
4429953, at *2 (E.D. La. Aug. 22, 2016).


                                            1
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       New Orleans, Louisiana this 3rd day of November, 2021.



                              ____________________________________
                              JANE TRICHE MILAZZO
                              UNITED STATES DISTRICT JUDGE
